Case 23-17261-JNP                   Doc         Filed 10/31/24 Entered 10/31/24 19:21:34                                  Desc Main
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     Fill in this information to identify the case:

     Debtor 1 HAYDEE VELAZQUEZ AKA HAYDEE VELAZQUEZ ARCE
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the District of New Jersey
     Case number 23-17261-JNP




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                         12/15

 If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                 Court claim no. (if known): 11
  Last four digits of any number you           5417                             Date of payment change:                     12/01/2024
  use to identify the debtor’s account:                                         Must be at least 21 days after date of
                                                                                this notice

                                                                                New total payment:                         $1,695.78
                                                                                Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 741.34             New escrow payment:          $ 737.39



  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                                %              New interest rate:                                %

               Current principal and interest payment: $ _________                New principal and interest payment: $ __


  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.)

               Reason for change:


               Current mortgage payment: $                           New mortgage payment: $




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   Debtor1   HAYDEE VELAZQUEZ AKA HAYDEE VELAZQUEZ                   Case number (if known) 23-17261-JNP
   ARCE
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Matthew Fissel
       Signature
                                                                                    Date 10/30/2024



   Print: Matthew Fissel (038152012)
         First Name           Middle Name           Last Name                       Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                       Email NJBKR@brockandscott.com




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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

23-23515 BKSUP02
BROCK & SCOTT, PLLC
302 Fellowship Rd, Suite 130
Mount Laurel, NJ 08054
(844) 856-6646
Attorneys for Freedom Mortgage Corporation
In Re:                                                  Case No: 23-17261-JNP

HAYDEE VELAZQUEZ AKA HAYDEE                             Hearing Date: ____________
VELAZQUEZ ARCE
                                                        Judge: JERROLD N.
                                                        POSLUSNY, JR

                                                        Chapter: 13


                          CERTIFICATION OF SERVICE

    1.    I, Matthew Fissel:

              represent Freedom Mortgage Corporation in this matter.

             am the secretary/paralegal for _________________, who represents
          _________________ in this matter.

              am the _________________ in this case and am representing myself.

    2.    On the undersigned date, I sent a copy of the following pleadings and/or
          documents to the parties listed in the chart below:

          Notice of Mortgage Payment Change

    3.    I certify under penalty of perjury that the above documents were sent using
          the mode of service indicated.


Dated: October 31, 2024                        /s/ Matthew Fissel
                                                   Matthew Fissel
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    Name and Address of Party          Relationship of               Mode of Service
            Served                    Party to the Case
                                                               Hand-delivered

                                                               Regular mail

 HAYDEE VELAZQUEZ                                              Certified mail/RR
 945 CHESTNUT AVE
                                 Debtor
 WOODBURY, NJ 08097-1609                                       E-mail

                                                               Notice of Electronic Filing (NEF)

                                                               Other__________________
                                                             (as authorized by the court *)
                                                               Hand-delivered

                                                               Regular mail

 EDWARD JACOB GRUBER                                           Certified mail/RR
 1500 WALNUT STREET, SUITE       Debtor’s
 900                             Attorney                      E-mail
 PHILADELPHIA, PA 19102
                                                               Notice of Electronic Filing (NEF)

                                                               Other__________________
                                                             (as authorized by the court *)
                                                               Hand-delivered

                                                               Regular mail

 Andrew B Finberg                                              Certified mail/RR
 535 Route 38
                                 Chapter 13 Trustee
 Suite 580                                                     E-mail
 Cherry Hill, NJ 08002
                                                               Notice of Electronic Filing (NEF)

                                                               Other__________________
                                                             (as authorized by the court *)
                                                               Hand-delivered

                                                               Regular mail

 Office of the US Trustee                                      Certified mail/RR
 One Newark Center Ste 2100
                                 US Trustee
 Newark, NJ 07102                                              E-mail

                                                               Notice of Electronic Filing (NEF)

                                                               Other__________________
                                                             (as authorized by the court *)
      * May account for service by fax or other means as authorized by the court through the
      issuance of an Order Shortening Time.
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